          Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 1 of 28




     In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                               Filed: July 30, 2020

*********************
KAVITA DESAI,              *                                             UNPUBLISHED
                           *
                           *                                             No. 14-811V
               Petitioner, *
v.                         *                                             Special Master Gowen
                           *
                           *                                             Ruling on Entitlement; Influenza
SECRETARY OF HEALTH        *                                             (Flu) Vaccine; Shoulder Injury
AND HUMAN SERVICES,        *                                             Related to Vaccine Administration
                           *                                             (SIRVA).
               Respondent. *
*********************

Richard Gage, Richard Gage, P.C., Cheyenne, WY, for petitioner.
Camille M. Collett, Department of Justice, Washington, D.C., for respondent.

                                      RULING ON ENTITLEMENT1

        On September 4, 2014, Kavita Desai (“petitioner”), filed a petitioner for compensation
under the National Vaccine Injury Compensation Program. 2 Petitioner alleges that she suffered a
right shoulder injury related to vaccine administration (“SIRVA”) as a result of receiving an
influenza (“flu) vaccination on November 15, 2012. Petition at Preamble. (ECF No. 1). Based
on a full review of all the evidence and testimony presented at the entitlement and damages




1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed redacted version of the
opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
          Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 2 of 28




hearing held in Washington, D.C. on July 17-18, 2018, I find the petitioner is entitled to
compensation.3

         I.       Procedural History

        On September 4, 2015, petitioner filed her petitioner alleging that the flu vaccine was the
cause-in-fact of her developing a right shoulder injury. Petition. This case was originally
assigned to the Special Processing Unit (“SPU”). Petitioner filed medical records and a
statement of completion on September 9, 2014, pursuant to the SPU Initial Order. See
Petitioner’s (“Pet.”) Exhibits (“Ex.”) 1-8 (ECF No. 6); Statement of Completion (ECF No. 7).
After an initial status conference, petitioner filed an affidavit explaining that there are limited
physical therapy treatment records for the time when she was India. Pet. Ex. 9.

        On October 27, 2014, the case was reassigned to the undersigned’s docket. See Notice of
Reassignment (ECF No. 12). The undersigned held a status conference on November 20, 2014.
During the status conference, respondent’s counsel indicated that the site of vaccine
administration was not clear in the record provided by the petitioner and that the onset of
petitioner’s symptoms was uncertain. See Order, issued on Nov. 20, 2014. (ECF No. 15).

         On December 10, 2014, respondent filed a status report stating that petitioner’s claim has
“two deficiencies.” Status Report (ECF No. 16). Respondent stated that “the applicable vaccine
record conflicts with petitioner’s allegation regarding the arm in which she received the vaccine.
The vaccination record documents the site of administration of petitioner’s influenza vaccine as
the left deltoid. Pet. Ex. 1 at 1. Petitioner alleges that she received the vaccine in the right upper
arm.” Id. at 1. Respondent also stated, “The second deficiency in petitioner’s case is an onset
issue. The first documentation of petitioner’s alleged vaccine-related “shoulder-pain” is three
months post-vaccination when she first sought treatment for pain.” Id. at 2. Petitioner was
ordered to file outstanding medical records and affidavit relating to the administration of the flu
vaccine and the onset of her shoulder pain. Scheduling Order (Non-PDF), issued on Dec. 18,
2014.

       On January 28, 2015, petitioner filed a one-page record from petitioner’s primary care
provider which stated that that on November 15, 2012 - the day petitioner received the flu
vaccination – petitioner had a “routine follow up and health screening,” also described as a
“routine general medical examination.” Pet. Ex. 11 (ECF No. 17). During a status conference
on February 20, 2015, the undersigned granted petitioner additional time to obtain any other
records and directed petitioner to then convey a demand to respondent. Order (ECF No. 19).

        The parties engaged in unfruitful settlement discussions through the first half of 2015.
On June 25, 2015, respondent filed a status report stating that “petitioner has submitted a demand
to respondent wherein petitioner indicates that she will not consider a discount of her damages
based on a litigative risk analysis. Respondent’s position continues to be that fundamental
factual issues in this case need to be resolved.” Status Report (ECF No. 24). A status

3
 Pursuant to §300aa-13(a)(1), in order to reach my conclusion, I considered the entire record, including all of the
medical records, statements, expert reports, medical literature and testimony presented at the entitlement hearing
submitted by both parties. This opinion discusses the elements of the record I found most relevant to the outcome.

                                                          2
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 3 of 28




conference was held on July 30, 2015. See Order, issued on Aug. 11, 2015. Petitioner requested
a fact hearing during this status conference. Id. A fact hearing was scheduled for two days in
November 2016. See Scheduling Order (ECF No. 33).

    On September 14, 2015, petitioner filed a status report indicating that she had “filed all
records from Jacobi Medical Center.” Petitioner did not address the issue of insurance records.
She requested more time to obtain additional records of her medical care in India. Status Report
(ECF No. 27). On January 19, 2016, petitioner filed records from physical therapy treatments
beginning on February 27, 2013. Pet. Ex. 12 (ECF No. 32)

       Then, on March 2, 2016, respondent filed a status report stating that respondent’s counsel
had received authority to resolve the case on a litigative risk basis, but asked to preserve the
hearing dates. Status Report (ECF No. 34).

        Over the next approximately 11 months, the parties endeavored to resolve the matter
informally. In support of her claimed future medical expenses, petitioner filed additional
medical records and a life care planner’s cost analysis. Petitioner also filed documentation
relating to her lost wages claim, including her curriculum vitae indicating that she obtained her
medical degree in India and was working as a clinical researcher in New York, New York. See
Pet. Ex. 23 (ECF No. 57). In September 2016, the parties and the undersigned agreed to cancel
the November 2016 hearing date.

        Another status conference was held on December 7, 2016, where the parties discussed the
impasses to settlement. Scheduling Order (ECF No. 52). On February 7, 2017, the undersigned
held a status conference and agreed to schedule a hearing for July 17-18, 2018, to cover
entitlement (including in which arm the vaccine was given, whether petitioner developed SIRVA
and when her symptoms began) and damages (particularly those related to petitioner’s lost
wages). Order (ECF No. 59). The undersigned held a status conference on January 18, 2018,
where the parties were a provided a list of issues that needed to be addressed to narrow the issues
for the entitlement and damages hearing set for later that year. See Status Conference Order
(ECF No. 88).

        The next status conference was held on January 29, 2018. It was digitally recorded at
respondent’s request. The parties and the undersigned discussed the steps necessary before the
hearing on entitlement and damages set for July 17-18, 2018. Petitioner advised that she was no
longer claiming lost wages. Petitioner proposed traveling to the United States to meet with her
treating orthopedist and the parties’ life care planners, in advance of the hearing. Respondent
stated that petitioner had refused his counter-offer, and that typically entitlement is resolved
before damages. The undersigned indicated his preliminary and tentative view that petitioner
was entitled to compensation for a right shoulder injury. Respondent requested that if the
undersigned determined he had sufficient evidence to resolve entitlement, the undersigned
should issue a written ruling on the same.

       Respondent filed his Rule 4(c) report on February 23, 2018. Respondent’s (“Resp.”)
Report (“Rept.”) (ECF No. 93). Respondent stated that after reviewing the petition and
accompanying documents, the Division of Injury Compensation Programs at the Department of


                                                 3
          Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 4 of 28




Health and Human Services, opined that this case [was] not appropriate for compensation. Resp.
Rept. at 1. Respondent noted that petitioner filed her claim prior to SIRVA being added to the
Vaccine Injury Table. Id. at 8. Respondent stated that petitioner’s case does not meet the Table
criteria “because the contemporaneous medical records do not support the onset of pain within
forty-eight hours of vaccination.” Id. Further, respondent argued that “the applicable vaccine
record conflicts with petitioner’s allegation regarding the arm in which she received the
vaccine.” Id. at 9. Respondent stated, “The vaccination record documents the site of
administration of petitioner’s influenza vaccine as the left deltoid. Petitioner alleges that she
received the vaccine in the right upper arm.” Id. Respondent stated that petitioner must prove
by preponderant evidence that her November 15, 2012 flu vaccination actually caused her right
shoulder injury. Id. at 9. Respondent concluded that petitioner has not submitted medical record
evidence or a medical opinion to meet her burden under the Vaccine Act and the case should be
dismissed. Id. at 10.

        Petitioner filed additional medical records and a life-care plan. Pet. Exs. 27-29.
Respondent filed an expert report by Dr. David Ring, M.D., PhD4 on July 12, 2018. Resp. Ex.
A. Petitioner filed the CV of Ms. Liz Kattman, petitioner’s life care planner and additional
medical records on July 13, 2018. Pet. Exs. 24 & 35. Through the prolonged history of this case
the parties had addressed issues such as in which arm the injection was given; the onset of
petitioner’s pain and limitation of motion; and the nature of her ongoing symptoms.
Accordingly, it was proposed that Dr. Ring would address the nature of the petitioner’s ongoing
symptoms and their relatedness to the vaccination.

        On July 11-12, 2018, the undersigned held two status conferences in this case. The
undersigned noted that Dr. Ring’s report provided his opinion regarding the causation of
petitioner’s original shoulder injury and the relatedness of petitioner’s original shoulder injury to
petitioner’s current pain and limitations, which was significantly untimely coming a week before
trial and in light of the history of this case. Order (ECF No. 117). The undersigned explained
that he intended to exclude Dr. Ring’s opinion relating to the causation of petitioner’s injury but
allow testimony relating to the nature of petitioner’s ongoing pain and limitations and relatedness
to the vaccination. Id. at 3. At the entitlement hearing, respondent made an oral motion to
allow Dr. Ring’s full testimony to be considered, including on the issue of causation. Tr. 4-11.
I granted respondent’s motion with the proviso that the petitioner would have the opportunity to


4
  Dr. David Ring is an orthopedic surgeon, in Austin, Texas. Resp. Ex. A at 1; Resp. Ex. B. Dr. Ring received his
undergraduate degree from University of California, San Diego in 1989. He attended the University of California at
San Diego for medical school. Id. Dr. Ring was an intern of surgery at Massachusetts General Hospital and he
completed a residency in orthopaedic surgery at Harvard Combined Orthopaedic Residency. Id. In 2000, he
completed a hand and microvascular surgical fellow at Massachusetts General Hospital. Resp. Ex. B at 1. From
1999 through 2016, Dr. Ring taught orthopaedic surgery at Harvard Medical School. Id. At the time of the hearing,
Dr. Ring was the Associate Dean for Comprehensive Care at Dell Medical School-The University of Texas a Austin.
Id. He been on the editorial board of multiple medical journals and served as ad-hoc reviewer for other peer review
medical journals. Resp. Ex. B at 8-9. Additionally, Dr. Ring has authored numerous peer reviewed publications.
Id. at 41-3. During the hearing, Dr. Ring testified that he had not previously testified as an expert in the Vaccine
Injury program, but has testified as an expert witness in state court. Tr. 254—55. Petitioner did not object to Dr.
Ring being admitted as an expert in the field of orthopedics and psychiatry, and therefore, I admitted him as an
expert in those fields. Tr. 255.


                                                         4
          Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 5 of 28




submit an expert report within sixty days of the conclusion of the hearing. Dr. Ring testified to
the issues of entitlement. Tr. 236.

         A hearing on entitlement and damages hearing was held on July 17-18, 2018.5 Petitioner
testified on July 17, 2018. Dr. Ring testified on behalf of respondent on July 18, 2018. After the
hearing, petitioner filed an expert report by Dr. Marko Bodor, M.D.6 and supporting medical
literature. See Pet. Exs. 37-50. The parties submitted post-hearing briefs. Pet. Post-Hearing
Brief (ECF No. 142); Resp. Post-Hearing Brief (ECF No. 146); Pet. Post-Hearing Reply (ECF
No. 147).

         This matter is now ripe for adjudication.

         II.      Finding of Fact

       Prior to determining vaccine causation, there is one factual issue that must be resolved.
The question is whether petitioner received the November 15, 2012 flu vaccine in her right
shoulder or left shoulder.

         A. Legal Standard

       The process for making determinations in Vaccine Program cases regarding factual issues
begins with consideration of the medical records, which are required to be filed with the petition.
§11(c)(2). The Federal Circuit has made clear that medical records “warrant consideration as
trustworthy evidence.” Cucuras v. Sec’y of Health & Human Servs., 993 F.2d at 1528. Medical
records that are created contemporaneously with the events they describe are presumed to be
accurate and “complete” (i.e., presenting all relevant information on a patient’s health problems).
Cucuras, 993 F.2d at 1528.

       Accordingly, where medical records are clear, consistent, and complete, they should be
afforded substantial weight. Lowrie v. Sec’y of Health & Human Servs., No. 03-1585V, 2005
WL 6117475, at *20 (Fed. Cl. Spec. Mstr. Dec. 12, 2005). However, this rule does not always

5
 This ruling only discusses entitlement and will only discuss evidence, including medical records, testimony and
expert reports pertaining to petitioner’s entitlement to compensation. Any evidence relevant to deciding damages
will be discussed in a separate decision on damages.
6
  Dr. Marko Bodor is a licensed physician in the state of California. Pet. Ex. 51. He attended Harvard College for
his undergraduate education and graduated in 1982. Dr. Bodor attended the University of Cincinnati for medical
school. Id. Upon graduation in 1987, Dr. Bodor had a surgical internship at the University of California, San Diego
and completed his residency in physical medicine and rehabilitation at the University of Michigan. Id. He has his
board certification in Physical Medicine and Rehabilitation and sub-specialty board certifications in pain medicine
and sports medicine. Id. Dr. Bodor is affiliated with the University of California, San Francisco Department of
Neurological Studies and the University of California, Davis Department of Physical Medicine and Rehabilitation.
Id. at 3. Additionally, Dr. Bodor is the founder of the Bodor Clinic, Interventional Spine and Sports Medicine,
located in Napa, California. In this role, Dr. Bodor treats patients for neurological and orthopedic disorders. Id. at
3. Dr. Bodor is an adjunct assistant professor at the Touro University Osteopathic School and had held voluntary
teaching positions at UCSF Medical School and at UC Davis. Id. at 6. Dr. Bodor has published numerous peer
review articles and has been admitted as an expert in the Vaccine program before. Respondent did not object to
petitioner submitting an expert report from Dr. Bodor in this case.

                                                          5
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 6 of 28




apply. In Lowrie, the special master wrote that “written records which are, themselves,
inconsistent, should be accorded less deference than those which are internally consistent.”
Lowrie, at *19.

        The Court of Federal Claims has recognized that “medical records may be incomplete or
inaccurate.” Camery v. Sec’y of Health & Human Servs., 42 Fed. Cl. 381, 391 (1998). The
Court later outlined four possible explanations for inconsistencies between contemporaneously
created medical records and later testimony: (1) a person’s failure to recount to the medical
professional everything that happened during the relevant time period; (2) the medical
professional’s failure to document everything reported to her or him; (3) a person’s faulty
recollection of the events when presenting testimony; or (4) a person’s purposeful recounting of
symptoms that did not exist. La Londe v. Sec’y of Health & Human Servs., 110 Fed. Cl. 184,
203-04 (2013), aff’d, 746 F.3d 1335 (Fed. Cir. 2014).

        The Court has also said that medical records may be outweighed by testimony that is
given later in time that is “consistent, clear, cogent, and compelling.” Camery, 42 Fed. Cl. at 391
(citing Blutstein v. Sec’y of Health & Human Servs., No. 90-2808, 1998 WL 408611, at *5 (Fed.
Cl. Spec. Mstr. June 30, 1998). The credibility of the individual offering such testimony must
also be determined. Andreu v. Sec’y of Health & Human Servs., 569 F.3d 1367, 1379 (Fed. Cir.
2009); Bradley v. Sec’y of Health & Human Servs., 991 F.2d 1570, 1575 (Fed. Cir. 1993).

        The special master is obligated to fully consider and compare the medical records,
testimony, and all other “relevant and reliable evidence contained in the record.” La Londe, 110
Fed. Cl. at 204 (citing § 12(d)(3); Vaccine Rule 8); see also Burns v. Sec’y of Health & Human
Servs., 3 F.3d 415, 417 (Fed. Cir. 1993) (holding that it is within the special master’s discretion
to determine whether to afford greater weight to medical records or to other evidence, such as
oral testimony surrounding the events in question that was given at a later date, provided that
such determination is rational).

       B. Summary of Facts

           1. Medical Records

        On November 15, 2012, Jacinth M. Ruddock MD at the Jacobi Medical Center in New
York City recorded that petitioner had presented for an “unscheduled med clinic encounter.”
The plan was “reestablishment of routine follow-up and health screening.” The primary
diagnosis was “routine general medical examination.” The secondary/ chronic diagnosis is
recorded as “lumbosacral spondylosis without myelopathy.” Pet. Ex. 11. The same day,
petitioner also had blood drawn for bloodwork and an EKG & Rhythm Strip Electrocardiogram.
Pet. Ex. 35. The date on the record states that the blood was collected on November 15, 2012 at
16:24 and the results were completed the same day. Id. at 1. This record does not indicate from
which arm petitioner had the blood drawn.

       A further record from the same day, November 15, 2012, at 16:12 provides that Kumok
Choi, RN, administered a flu vaccination to petitioner. The record provides that it was an
intramuscular injection in “deltoid left.” Pet. Ex. 1.


                                                 6
           Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 7 of 28




       On December 14, 2012, petitioner was sworn in as a United States citizen at the United
States District Court for the Southern District of New York. Pet. Ex. 17. Petitioner is a
physician and was working as a medical researcher at Mount Sinai Hospital in New York. In
January 2013 she returned to India to care for an aging and ill father.

       The first medical record following petitioner’s flu vaccination 7 is dated February 28,
2013. Pet. Ex. 3 at 1. It is handwritten, from the desk of Harsh Shah, M.D., a “specialist joint
replacement surgeon” in Ahmedabad, India. Id. This record provides: “Dr. Kavita Desai, F/ 48,
C/o pain – right shoulder – 3 months, H/o flu shot – followed by the [crossed out] 23rd
November, Gradual onset → worsening, Previous treatment: nil.” Id. A physical examination
observed “bicipital tenderness, abduction/ internal rotation – painfully limited, painful arc +ue,
neurologically (N).” Dr. Shah’s assessment was an impingement syndrome. He advised
Dolonex8 once per day, supportive care, ultrasound, and follow up in fifteen days. Pet. Ex. 3 at
1.

         On February 28, 2013, on Dr. Shah’s referral, petitioner had an initial consult with
Megha Sheth, a physical therapist at TH Institute of Physical Medicine in Ahmedabad. Pet. Ex.
12 at 1. The record provides: “[Petitioner] present[ed] with severe frozen shoulder/ adhesive
capsulitis of right shoulder joint. [Petitioner] first received a flu shot intramuscularly on 15 Nov
2012. The IM injection site on right deltoid region started to hurt soon after injection on the
same day. [Petitioner] assumed that the pain was due to flu vaccination and that it would go
away after some time. Gradually, however, the Right shoulder started to become significantly
painful, inflamed, stiff, restrictive and week. The patient is right-handed and right arm is her
dominant arm.” Id. The record also provides that petitioner was a “pediatrician, currently
unable to work due to physical right shoulder and arm dysfunction.” Id. In the “current
condition,” section of the record, it states, “Due to severe pain, stiffness, inflammation and
weakness, it is excruciatingly painful and difficult for patient to move her right arm and perform
day to day activities.” Id. A physical exam revealed that petitioner had normal range of motion
and strength with her left shoulder but had deficits in her right shoulder active range of motion.
Id. at 3. The record for that visit noted that petitioner had an internal rotation of the right arm of
only 28 degrees and external rotation of 25 degrees; her abduction was limited to 100 degrees
and flexion limited to 110 degrees. Id. Petitioner was positive for Spurling’s Test and the
Empty Can Test on the right shoulder and negative on all special shoulder tests on the left
shoulder. Id. It was recommended that petitioner begin physical therapy and recommended that
she engaged in strength exercises, moist heat therapy to increase local circulation and decrease
pain and inflammation; active and passive stretching to increase joint range of motion; peripheral
joint mobilization/cryotherapy which is the application of cold to decrease local swelling and
decease pain. Id. at 4.

       Petitioner had physical therapy treatment at the Suresh Bramkumar Bhatt School of
Physiotherapy (SBB College of Physiotherapy) from March 1, 2013 through Jul7 7, 2013. Pet.

7
 A record from Fracture and Orthopaedic Hospital in Ahmedabad, India dated January 4, 2013, lists petitioner, Dr.
Kavita Desai, as the patient. It lists a “follow-up charge” of “600.” Pet. Ex. 21 at 2.
8
    Dolonex is a non-steroidal anti-inflammatory.

                                                        7
            Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 8 of 28




Ex. 12. In April 2013, petitioner was not showing much improvement in her right shoulder. Id.
at 29. She reported pain that was interrupting her ability to sleep. Id. She also explained she was
taking high dose oral pain medication without much relief. Id. During therapy she was being
treated with therapeutic exercises, manual stretching and cold treatments afterwards. Id. at 30.

        There is a medical record from April 4, 2013 from G.M.E.R.S General Hospital in
Gandhinagar, India for a 48-year old, “government employee,” seeking treatment for right
shoulder pain that has been ongoing for four months. Pet. Ex. 4 at 1. The medical record states,
“Supervise for exercise in abduction of shoulder (illegible), concentrate to regain abduction and
rotation.” Id.

       Petitioner returned to Dr. Shah on April 14, 2013. Pet. Ex. 3 at 2. Dr. Shah recorded,
“One month of treatment of NSAIDS & exercises, no significant improvement.” Id. He noted,
“Abduction better, internal rotation—limited.” Id. He advised an “Arthropatch”9 daily for seven
days, Tapnac-P10 for ten days, rest and to follow-up in two weeks. Id.

        On May 14, 2013, at a physical therapy appointment, petitioner reported severe
inflammation, stiffness, pain and weakness of her right shoulder. Pet. Ex. 12 at 48. She also
explained she began an oral corticosteroid regime for 10 days. Id. At a physical therapy
appointment on May 16, 2013, petitioner reported that she could not perform proper activities or
weight with her right arm and she was postponing her departure to the U.S. “due to this non-
resolving, agonizing condition.” Id. at 49. On May 30, 2013, petitioner had another physical
therapy appointment where she reported that she did not benefit from oral corticosteroids and felt
frustrated with her lack of progress and wanted to take a few days off. Id. at 57.

        On July 17, 2013, petitioner returned to Jacobi Medical Center in New York. Pet. Ex. 2
at 35. The record explains that petitioner is “here with complaints of right painful shoulder. She
reports that she received a flu shot last November in her right shoulder and has progressive pain
and limited ROM.” Id. The record states, “[Petitioner] has tried [physical therapy] in India
without success. Benadryl has helped somewhat. Prednisone course in India has not. She is
quite upset that Dr. Ruddock did not return any of her phone calls about this.” Id. A physical
exam was performed where petitioner demonstrated limited range of motion in active and
passive movements in her right upper extremity, along with tenderness on right deltoid and
anterior joint line. Id. at 36.

       On July 26, 2013, petitioner had an appointment at the North Central Bronx Hospital with
Dr. Steven Lager. Pet. Ex. 5. The history notes, “patient had flu injection into right deltoid in
November 2012 and developed acute shoulder pain with capsulitis.” Id. at 1. After a physical
exam, where petitioner demonstrated decreased range of motion with her right shoulder, Dr.
Lager diagnosed petitioner with “severe right shoulder capsulitis that did not respond to 4
months of PT in India.” Id.



9
    Arthro patches are pain relief patches.
10
     Tapnac-P is Paracetamol, also known as acetaminophen.

                                                        8
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 9 of 28




        Petitioner had a sports medicine appointment on August 8, 2013 with Dr. Darlene K.
Jean-Pierre. Pet. Ex. 2 at 38. The clinic note states, “48 yF RHD referred to sports clinic for
evaluation and treatment of R shoulder pain/stiffness s/p flu shot in 11/2012.” Id. It was noted
that petitioner had “diffuse tenderness to palpation” on her right upper extremity and she had a
positive impingement sign. Id. Petitioner also demonstrated “some weakness with supraspinatus
test.” Id. Dr. Jean-Pierre diagnosed petitioner with adhesive capsulitis of shoulder and
administered a subacromial/intraart injection. Id.

         On August 12, 2013, petitioner had an occupational therapy shoulder evaluation. Pet. Ex.
2 at 42. It was reported that petitioner’s diagnosis was “right shoulder adhesive capsulitis.” Id.
It was also noted that petitioner’s dominate extremity was her “right.” Id. The history of
treatment stated, “…right shoulder pain since 11/2012 s/p flu shot, received aggressive PT in
India (illegible) improvements, s/p injection subacromial region by sports on 8/8/2013.”
Petitioner reported that she had pain in her right shoulder in all directions at an 8/10. Id. She
demonstrated limited range of motion in all directions. Id. at 43. Petitioner had her second
occupational therapy appointment on August 16, 2013. Id. at 46. She reported “much improved
pain” in the right shoulder, indicating that it was a 2/10 while at rest. Id. Petitioner had three
other occupational therapy appointments in August 2013. Id. at 47-9. At the August 29, 2013
visit, petitioner reported that she was traveling for two weeks. Id. at 49. Petitioner returned to
occupational therapy on October 4, 2013. Id. at 51. She reported reduced pain in her right
shoulder and that she had been compliant with home treatments as much as possible. Id. She
had another occupational therapy appointment on October 11, 2013. Id. at 52. At this
appointment, she reported her pain as a 1/10. Id.

        On December 26, 2013, petitioner had an appointment with Dr. Asha Shrestha at the
Rheumatology Clinic at Jacobi Medical Center. Pet. Ex. 2 at 61. Petitioner explained that she
was referred to rheumatology from the Sports Medicine Department for her right shoulder
adhesive capsulitis. Id. Again, petitioner associated the onset with her right shoulder pain and
dysfunction to her flu vaccination in November 2012. Id. Petitioner’s history noted that
petitioner received a steroid injection in August 2013 and physical therapy “recommended by
rehab with some improvement now.” Id. Petitioner also reported that she was not doing any
additional occupational therapy, but had improvement in her right shoulder and reported, “right
shoulder is better in terms of pain and [range of motion]. Id. During the physical exam,
petitioner demonstrated limited range of motion, “mainly on internal rotation due to pain.” Id.
Dr. Shrestha diagnosed petitioner with right shoulder pain-suggestive of adhesive capsulitis-now
improving,” and she also stated that there was “no suspicion for connective tissue disease. Id. at
62. Dr. Shrestha recommended petitioner continue exercises occupational therapy taught her for
the right shoulder and naproxen for pain as necessary. Id.

        On April 10, 2014, petitioner had an appointment with Dr. Tony Wanich, an orthopedist.
Pet. Ex. 6 at 1. In this record, it was noted that petitioner had right shoulder pain following the
flu injection in 2013. Id. Petitioner reported her pain as a 4/10. Id. He performed a focused
right shoulder exam, where petitioner demonstrated reduced range of motion on forward flexion,
abduction, adduction and external rotation. Id. at 2. Petitioner had a positive Neer and Hawkin’s
test. Id. at 3. Dr. Wanich diagnosed petitioner with adhesive capsulitis and recommended she
continue working with physical therapy. Id. at 4.


                                                 9
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 10 of 28




         On April 15, 2014, petitioner presented to Performance Rehabilitation for an initial
evaluation. Pet. Ex. 7 at 1. It was recorded that petitioner received a flu vaccination in
November 2012 and that she developed frozen shoulder. Id. at 1. During the initial physical
therapy evaluation, petitioner demonstrated reduced range of motion of her right shoulder on
active movement. Id. Petitioner had a positive drop arm test, positive impingement test and
positive Spurlings test. Id. Petitioner was assessed with right frozen shoulder with secondary
bicipital tendinitis and some symptoms consistent with cervical radiculopathy. Id. Petitioner
had physical therapy appointments at Performance Rehabilitation for the next six weeks. Pet.
Ex. 7. At an appointment on May 13, 2014, petitioner reported that her shoulder was “getting
better little at a time,” and that her pain had been reduced. Id. at 18. On May 22, 2014,
petitioner reported a “significant reduction in pain and improved [range of motion], strength and
mobility,” however, petitioner continued to report “difficulty and limitations in her ability to lift
and reach overhead, behind her back and still has pain with activity.” Id. at 22. She reported her
pain at a 1/10 at best and a 5/10 at worst. Id. On June 4, 2014, at another physical therapy
appointment, petitioner reported that “her shoulder is significantly better. She feels her range is
a lot looser and is able to reach behind her back better.” Id. at 28. Later in the month, on June 9,
2014, petitioner reported, “…significant range improvements day to day. Much easier reaching
behind [her] back. Pain only with reaching across body.” Id. at 32.

        Petitioner had a follow-up appointment with Dr. Wanich on June 12, 2014. Pet. Ex. 8 at
1. In the history, he noted that petitioner “has demonstrated improvement with physical
therapy.” Id. After a physical exam of her right shoulder, he assessed petitioner with right
shoulder adhesive capsulitis. Id. at 4. He wrote that petitioner had responded well to physical
therapy, but “still lacks [internal rotation/external rotation],” and he gave her a new physical
therapy referral. Id.

         Petitioner travelled to India to again care for her ailing father and re-established care at
the Suresh Bramkumar Bhatt School of Pysiotherapy, T.H. Institute of Physical Medicine in
Ahmedabad, India. Pet. Ex. 13. At the initial evaluation on December 10, 2014, petitioner
reported that after she received the flu vaccine in her right arm on November 12, 2012, she
noticed pain which gradually increased as time progressed. Id. at 1. The history noted that
petitioner had aggressive physical therapy from February to July 2013 in India and again in the
U.S. Id. Petitioner reported that the pain was at worst a 3/10 and at rest a 0-1/10. Id. She
reported mild limitation when trying to lift objects and mild to difficult when trying to reach
overhead. Id. A physical examination of the shoulder revealed some limitation on external
rotation and internal rotation, along with decreased strength (4/5) on the right shoulder compared
to the left shoulder. Id. at 3. Physical Therapist Komal Patel assessed petitioner with, “Signs
and symptoms are consistent with residual right frozen shoulder with bicipital tendinitis. Signs
and symptoms are also consistent with cervical radiculopathy. Id. It was recommended
petitioner engage in physical therapy for the right shoulder, including strengthening and
stabilizing exercises, as well as, certain passive movements to improve range of motion. Id.
Petitioner had physical therapy appointments from December 10, 2014 to April 28, 2017 in
India. See Pet. Exs. 13, 18, 25.




                                                 10
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 11 of 28




        These records demonstrate that petitioner’s pain and range of motion ebbed and flowed
but never fully resolved. For example, on January 12, 2016, petitioner reported “some
improvement,” and it was noted that, “[petitioner] is responding well to treatment and the
prognosis is favorable.” Pet. Ex. 13 at 34. On January 25, 2016, petitioner reported, “some
improvement in range of motion, stiffness and pain today.” Id. at 35. On May 31, 2016,
petitioner reported that she still “has pain and is weak, but is able to reach [overhead] better with
less difficulty.” Pet. Ex. 18 at 32. Then on June 24, 2016, petitioner reported, “she fees better
today. Reports some improvement in range of motion and pain.” Id. at 40. She reported that her
range of motion felt better, but was concerned about residual stiffness and weakness in her right
shoulder joint on August 10, 2016. Id. at 55. Later in the month, on August 26, 2016, petitioner
reported that she was “concerned about pain, weakness, stiffness and compromise in range of her
right shoulder joint.” Id. at 61. The assessment on that date states, “The patient is compliant and
follows PT and treatment plan also at home. Symptoms of chronic immune mediated rotator cuff
inflammation and tendinitis, subacromial bursitis and nerve damage.” Id. On September 23,
2016, petitioner described a, “constant heavy, sore pain from inside out of her right shoulder
joint.” Id. at 72. She reported, “Pain is exacerbated by humid and cold weather. The weakness,
residual stiffness and restriction of movement make her feel uncomfortable. She feels less than
normal in her day to day activity.” Id.

        On September 29, 2016, petitioner had an MRI of her right shoulder at InFocus
Diagnostics in Ahmedabad, India. Pet. Ex. 16. The MRI revealed a thin strip of fluid in the
subacromial subdeltoid bursa with heterogeneous content and capsular thickening, mild effusion
in the acromioclavicular joint with capsular fullness, degenerative signal changes in the antero-
superior glenoid labrum and mild edematous changes in the rotator cuff interval space (mild
changes of adhesive capsulitis). Id. The impression of the MRI was tendinosis involving
anterior fibers of supraspinatus tendon, changes of subacromial subdeltoid bursitis and mild
effusion involving AC joint with capsular fullness. Id.

         Petitioner had an appointment with Dr. Parag Shah on October 3, 2016. Pet. Ex. 22 at 1.
He noted that petitioner had a history of right shoulder pain for four years. Id. He wrote, “No
fall/trauma, H/O flu vaccine 4 years ago, followed by severe pain, [illegible], reduced range of
motion…mild impingement…” Id. He recommended petitioner continue regular strengthening
and continue to use cold/hot packs. Id.

         On October 11, 2016, petitioner had another physical therapy appointment. Pet. Ex. 25 at
1. She explained that, “As soon as the treatment is suspended, the pain, stiffness, weakness and
restriction in movement reappears.” Id. Petitioner continued physical therapy treatment and had
multiple appointments through April 28, 2017. See Pet. Ex. 25. Again, her progress in regaining
full movement and reducing the pain in her right shoulder appeared to wax and wane. For
example, on November 29, 2016, petitioner reported that, “She is getting more motion and less
pain since her last visit,” but then on December 6, 2016, petitioner reported her shoulder,
“…feels stiff since her las visit. There is also pain on extended ranges of movements.” Id. at 12,
15. On February 16, 2017, petitioner reported painful range of motion reaching overhead and
behind her back, but later in the month, on February 21, 2017, she reported a reduction in pain.
Id. at 29, 30. On April 11, 2017, petitioner reported pain and difficulty sleeping throughout the
night and soreness in the right shoulder joint. Id. at 42. It was noted that her passive flexion was


                                                 11
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 12 of 28




within normal limits and passive external rotation was also within normal limits, but with
moderate pain. Id. By April 20, 2017, petitioner was reporting improvement in ranges of
movement, but mild sleep discomfort continued. Id. at 45. On April 28, 2017, petitioner
reported that she had been doing her exercises at home, felt a reduction in pain, and her sleep
disturbances had improved. Id. at 47.

        After returning to the U.S., petitioner sought treatment from Dr. Gregory Difelice, a
trauma surgeon at Orthopaedic Surgery, Sports Traumatology & Joint Reconstruction. Pet. Ex.
27. In petitioner’s history, it was noted that she was right hand dominant who has had right
shoulder pain and stiffness “for several years after receiving the flu shot.” Id. at 1. Dr. Difelice
performed a focused physical exam of the right shoulder which showed active forward flexion 1-
160 degrees, abduction was 1-160 degrees, external rotation was 0-60 degrees and active internal
rotation to T12, all with good kinematics. Petitioner’s strength was 5/5 in the plane of the
scapula; 5-/5 in external rotation; and 5-/5 in subscapula. Id. at 2. She had a negative Spurling’s
test, but positive impingement signs. Id. Dr. Difelice diagnosed petitioner with chronic rotator
cuff syndrome, possibly related to flu shot. Id. He recommended petitioner continue at home
exercises, ice and over-the-counter NSAIDs and Tylenol as needed for pain control. Id.

        On May 21, 2018, petitioner had an appointment with Dr. Lori Ciuffo for a follow-up.
Pet. Ex. 33 at 1. It was noted in her history that petitioner had “right adhesive capsulitis from flu
injection who presents for routine care.” Id. at 1. The physical exam revealed right shoulder
range of motion was limited by pain. Id. at 2. At this appointment, petitioner declined additional
vaccinations, but was given a referral for physical therapy. Id. at 2. Petitioner was diagnosed
with right shoulder adhesive capsulitis. Id. at 4. Petitioner indicated that she did not feel like her
shoulder was improving and did not want to return to rehab. Id.

           2. Petitioner’s Affidavits

       Petitioner also submitted three affidavits. Pet. 1st Affidavit, signed August 29, 2014; Pet.
2 Affidavit, signed October 14, 2014; Pet. 3rd Affidavit, signed April 17, 2018. They generally
 nd

address the shoulder injury’s impact on her life and the treatment she sought beginning on
February 28, 2013.

       In her first affidavit, petitioner stated that the November 12, 2012 flu vaccination “was
administered in my right upper arm.” Pet. 1st Affidavit, ¶ 5. “Later that day my right arm and
shoulder started hurting.” Id. “I assumed that my shoulder was sore because of the flu
vaccination and that it would resolve over time. However, the pain did not go away and the right
shoulder became increasingly painful, stiff, inflamed, and weak.” Id. at ¶ 6.

        In her second affidavit, petitioner provided: “While I developed severely painful,
inflamed, restrictive and weak right shoulder joint and arm following [the flu vaccination] given
to me on 15NOV2012 in my right upper arm, I was in India from February 2013 to July 2013.”
Pet. 2nd Affidavit, ¶ 2. “Once I reached India, immediately, I sought consultation of Dr. Harsh
Shah there on 28FEB2013 – who is a noted orthopedist specialized [sic?] in joint conditions and
surgery – for the reaction I was experiencing following Flu vaccination in my right shoulder joint
and arm[.]” Id. at ¶ 3.


                                                 12
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 13 of 28




         In petitioner’s third affidavit, she stated that she received the flu vaccine injection on
November 12, 2012, in the right, upper arm. Pet. 3rd Affidavit, ¶ 1. She stated that, “on the same
day, my right shoulder and arm started hurting. There was pain, some swelling, heaviness and
tenderness at and around the injection site.” Id. at ¶ 2. She also stated that she experienced flu
like symptoms approximately 8 to 10 days after receiving the flu vaccine on November 15, 2012.
Id. at ¶ 9. She stated that in the VAERS report, filed on July 24, 2013, petitioner mentioned this
event. Id. at ¶ 10. Petitioner stated that, “By the time I reached my home city in India on
February 13, 2013, my right shoulder and arm SIRVA had worsened a great deal. The pain,
stiffness, and tenderness of right shoulder and upper arm was agonizing.” Id. at ¶ 12. Petitioner
also clarified that when she met with Dr. Harsh Shah on February 28, 2013, she told him that she
began to have flu-like symptoms around her birthday, of November 23, which is why he noted,
“flu + S 23rd November.” Id. at ¶ 14. She stated that she opted for home remedies to treat for the
flu symptoms, like lemon juice, plenty of water, occasional regular strength Tylenol for fever
and body ache and applied Tiger Balm on her forehead for headache. Id. at ¶ 14.

           3. Petitioner’s Testimony

         During the hearing, petitioner testified that on November 15, 2012, when she lived in
New York City, she had an appointment with Dr. Ruddock for a routine checkup. Tr. 21. She
testified that she saw Dr. Ruddock at 3:49 pm and had an ECG at 4:08 pm the same day. Tr. 22.
Petitioner explained that Nurse Wanda Cruz was the person who administered the ECG. After
the ECG, petitioner stated, that Dr. Ruddock wanted petitioner to get her blood work. Id. at 23.
Petitioner testified that in order to get her blood drawn, she had to walk down a long corridor to a
room where the blood work was performed by two technicians. Id. at 24. She stated that one of
the technicians attempted to locate a good vein in her armpits, but they could not find a
prominent vein. Id. Petitioner testified, “So they first tried it on my right arm but they couldn’t
get a proper vein because there was significant tests and they needed like two, three tubes of
blood. So then they tried on my left arm and they were able to…find a deep vein from where
they could take the blood.” Id. at 24. Petitioner also reviewed the blood work medical record
and verified that the record states that the blood was drawn at 4:24 pm. Id.

       After the blood was drawn, petitioner walked back to the nurses’ station to receive her flu
vaccine. Tr. 32. Petitioner explained that the nurse administering the vaccination noticed the
tape on petitioner’s left arm from the blood work and indicated that she would administer the
vaccine on the right arm. Id. Petitioner testified that the flu shot came after she received her
blood work, even though the time stamp on the vaccine administration record indicates the
vaccine was given at 4:12 pm. Tr. 33. Petitioner explained that the ECG was administered at
4:08 pm and it took at least ten minutes. Tr. 34. Therefore, she could not have received the
vaccination during the course of the ECG, at 4:12 pm. Id.

       Petitioner further testified that the person who administered the shot was a tall, Hispanic
woman. Tr. 35. She explained that it was likely the same nurse that administered petitioner’s
ECG, Nurse Wanda Cruz. Tr. 35, 165-66. Petitioner explained that when she examined the
vaccination record, which indicated Registered Nurse Kumok Choi administered the vaccine, she
knew it was wrong. Tr. 36. She testified that when she went back to Jacobi Medical Center to


                                                 13
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 14 of 28




request her vaccination record, she spoke to the nursing supervisor to report two discrepancies in
her medical record. Tr. 37. Petitioner stated that the nursing supervisor told her that often the
nurse administering the vaccination is someone different than the person who enters the record.
Id. The same day petitioner went to retrieve her vaccination record, she met with Nurse Kumok
Choi and described her as an “a short, slim, purely Asian female,” and, “she had no recollection
of me.” Tr. 164.

         Petitioner testified that after she left Dr. Ruddock’s office on the afternoon of November
15, 2012, “as soon as I reached home there was significant pain on my right shoulder.” Tr. 49.
She stated that she thought that the pain would subside, but as the evening progressed petitioner
“felt a lot of heaviness and pain-which wasn’t normal for other injections.” Id. She applied ice
on her right shoulder and took pain medication to soothe the pain. Id. Petitioner stated that the
pain continued through the next day, but she thought it would go away, as some shots are more
painful than others. Id. She testified that the pain would not cease. Id. By mid-December, she
could not move her right arm all the way up when she went to take a shower. Tr. 49-50. She
stated that slowly she could not comb her hair on the right side or put her arm in the right sleeve
of her jacket. Tr. 50.

         During cross-examination, petitioner explained that she had “considerable pain on the
day of the vaccine, but it gradually became worse and then the stiffness and movement
restrictions started happening. Tr. 225. Petitioner testified that the pain in her right shoulder
began immediately, but she thought it was going to go away. Tr. 171-72.

         In late January she left for India and experiencing a lot of pain in her right shoulder. Tr.
50. She stated that once she reached India, she contacted Dr. Shah because her arm was
“freezing.” Id. She testified that between November 15, 2012, the day of the vaccination, and
her first appointment with Dr. Shah on February 28, 2014, her right shoulder condition did not
improve. Tr. 51. She stated that instead, her arm was getting progressively stiffer. Id. Petitioner
stated that she was unable to perform day to day personal activities because she is right hand
dominant. Id. She explained that even when she was at rest, she was feeling pain and her day-
to-day activities were getting limited. Tr. 54.

       Petitioner explained that when she went to India to care for her father, she met with Dr.
Harsh Shah on February 28, 2013. Tr. 38. She testified that she recounted what had occurred
regarding her shoulder to Dr. Shah and attributed the pain to the flu vaccine she received on
November 15, 2012. Id. However, he recorded that petitioner received the flu vaccine on, “15
Nov. 2015,” which was an obvious error in recording the date, as it had yet to happen. Tr. 39.
She testified that other than the date of vaccine administration, the history was correctly recorded
by Dr. Shah. Id. Petitioner testified that Dr. Shah gave her a referral for physical therapy. Tr.
47.

        Petitioner testified that the treating orthopedist in India told her to go to physical therapy
every day because he did not want her shoulder to become completely frozen. Tr. 56. She was
also prescribed a high dose painkiller. Id. Petitioner testified that during physical therapy she
would perform arm movements, stretches and they would use ultrasound and hot packs on her
right shoulder. Id. Petitioner testified that even by June 2013, after two months of physical


                                                  14
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 15 of 28




therapy, she could only raise her arm about 70 degrees and she still could not comb her hair with
her right hand. Tr. 68.

         Petitioner returned to the U.S. from Indian in the first week of July 2013. Tr. 72. She
described her right should as “very bad.” Petitioner testified that she filed the first VAERS
report on July 24, 2013. Tr. 40. She stated that in the first VAERS report she indicated that she
had a lot of pain at the injection site immediately after the IM [intramuscular] flu shot in the
upper arm. Id. The VAERS report read that developed a severe flu-like syndrome with a low-
grade fever that lasted for two weeks. Id.; Pet. Ex. 10 at 3. Additionally, the VAERS report
described the condition of her right shoulder after receiving the flu vaccine as, “Gradual
development of intense pain in right shoulder and arm and restriction of movements of right arm
and shoulder akin to frozen shoulder from 11/15/2012 until 7/24/2013.” Id. Petitioner testified
that she filed a follow-up VAERS report on August 14, 2014. Tr. 42; Pet. Ex. 10 at 3. She
testified that she did not learn about the Vaccine Injury Compensation Program (“VICP”) until
later, during a follow-up call with the CDC. Tr. 43.

        Petitioner explained that she had a gap in treatment of a few months due to a lapse in
health insurance. Tr. 75. She saw Dr. Tony Wanich at Montefiore Medical Center in New York
City for the first time in April 2014. Pet. Ex. 6. He recommended she begin physical therapy
again. Id. Petitioner testified that by the third day of physical therapy at Performance
Rehabilitation, she “felt a bit loose and….more improvement.” Tr. 76. She stated that during
physical therapy, she was doing exercises which required more effort gradually to extend her
range of motion. Tr. 81. Petitioner engaged in physical therapy in the U.S. from April 2014 to
November 2014. Tr. 74.

         In December 2014, petitioner returned to India to care for her father. Tr. 45. She
resumed physical therapy in India. Pet. Ex. 13; Tr. 90. She described that her arm felt “heavy,”
and she experienced pain and stiffness in January 2015. Tr. 90. She explained that after about
five months of physical therapy, her shoulder, “in general was getting better.” Tr. 92. She stated
that if she attempted to lift heavy groceries or boxes, she exacerbated the pain in her shoulder
Tr. 95. Petitioner testified that during the dry and warm seasons, she was getting better, but
would experience the heaviness and a lot of pain if she overworked or overstretched her arm. Id.
She stated that in 2015, compared to 2013, the degree of pain had decreased and stopped taking
pain medication daily in 2015. Tr. 96.

        By the fall of 2016, petitioner explained that her right shoulder “had definitely improved,
but it was not normal.” Tr. 112. She stated that by October 2016, she was getting some relief in
her right shoulder with the variety of treatments she was undergoing at the time, but the relief
was temporary. Tr. 114. She testified that during the monsoon season in India (July through
mid-October, where the weather is, “very, very damp,” she had a “tough time with her right
shoulder.” Tr. 114, 119-20.

       Petitioner testified that in winter 2017, the time between physical therapy appointments
decreased. Tr. 115. But she felt that when the weather was very wet or really cold, she would
experience a lot of pain and dysfunction in her right shoulder. Id. However, despite these “spells
when bad weather,” occurred, she felt better and improvement with her overall ranges of


                                                15
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 16 of 28




motions. Id. She stated that in April 2017, she had felt much better, but still not 100 percent.
Tr. 116. Her sleep disturbances decreased and she was not consistently using any pain
medication. Tr. 117-18.

        By August 2017, petitioner stated that she had a dull, continuous aching pain and some
sleep disturbances, but that were “not as severe as in 2013 or 2014.” Tr. 120. She felt she
reached a plateau of residual problems and needed a break from physical therapy. Id. In
December 2017, she was “feeling much better,” but still experienced some pain reaching behind
her back and overhead, which she considered “normal.” Id.

        Petitioner testified that “some background pain is always there.” Tr. 121. She explained
that “during good seasons, when I don’t overstretch or overwork [her] arm,” she feels good about
her movements, sleep and activities. Tr. 121. But during the monsoon season or colder months,
her pain would come back. Id. She testified that by March 2018, she reported to her physical
therapist that she had pain in her right shoulder, but had improvement in movement since the
wintertime. Tr. 124. She stated that since March 2018, her shoulder issues had remained stable
and she had been feeling much more comfortable sleeping and in her movements. Tr. 125.

        Petitioner described a variety of activities that can aggravate her right shoulder, including
vacuuming, carrying more than six pounds in her right hand, or carrying a large bag. Tr. 130-31.
She stated that she purchased a specialized cart to assist her with grocery shopping. Tr. 133.
During the hearing, petitioner demonstrated her range of motion in her right shoulder. Tr. 136.
During the hearing, she was able raise her left arm about 180 degrees (normal)but her right arm
only to 150 degrees. Id. When asked about reaching behind her back, she was able to get to
about the T-5 level (normal) with the left arm but only to the T-12 level with the right. Tr 135.
She testified that all of the treating physicians she has seen for her right shoulder told her she
would experience residual problems with her right shoulder forever. Tr. 146.

       C. Site of Vaccine Administration: Left Arm/Right Arm

         Petitioner asserted that she received the covered flu vaccine in her right arm on
November 15, 2012. Pet. Aff. at 1; Petition at ¶ 3. Respondent argued that the vaccination
record documents the site of administration of petitioner’s vaccine in the left upper arm. Resp.
Rept. at 9. Respondent stated in his post-hearing brief, “The vaccination record documents the
site of administration of petitioner’s influenza vaccine as the left deltoid. Pet. Ex. 1 at 1.
Subsequent medical records that reflect petitioner’s receipt of the vaccination in the right
shoulder are based on petitioner’s statements to the providers and not on independent
information.” Resp. Post-Hearing Brief at 16.

       Medical records may be outweighed by testimony that is given later in time that is
“consistent, clear and cogent, and compelling.” Camery, 42 Fed. Cl. At 391 (citing Blutstein v.
Sec’y of Health & Human Servs., No. 90-2808, 1998 WL 408611 at *5 (Fed. Cl. Spec. Mstr.
June 30, 1998). In cases in which a court has based a finding upon lay testimony, there must be
corroborating evidence, either medical or otherwise to support the claim. Epstein v. Sec’y of
Health and Human Servs, 35 Fed. Cl. 467, 478 (1996).



                                                 16
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 17 of 28




       In this case, petitioner has provided consistent, clear and cogent and compelling
testimony, which is corroborated by medical records, to demonstrate that she received the flu
vaccination on November 15, 2012 in her right arm. Petitioner explained that the vaccine was
administered in her right arm because the blood work she received the same day, had been
performed on her left arm. Pet. Ex. 35; Tr. 24.

       Additionally, petitioner’s testimony about when she received the flu vaccination at the
medical appointment on November 15, 2012, also demonstrated that there was an error in
vaccination record. The vaccination record indicated that she received the flu vaccine at 4:12 pm
EST. Pet. Ex. 1 at 1. However, this time stamp is inconsistent with both petitioner’s testimony
about the timing of the procedures she had performed at the medical appointment on November
15, 2012 and with the time stamp on the medical records for her EKG.

         The medical appointment record from November 15, 2012 indicates that she met with Dr.
Ruddock at 3:49 pm. Pet. Ex. 11. She also had an EKG & Rhythm Strip Electrocardiogram the
same day and that it is documented to have taken place at 4:08 pm. Pet. Ex. 35. Petitioner
testified that this type of procedure took approximately 10 minutes to perform this test. Tr. 34.
She explained that after the EKG, she went to another part of the office to have her bloodwork
drawn. Tr. 27. The record indicates that she had her blood drawn at 4:24 pm. Pet. Ex. 35.
Petitioner testified that after the blood work specimen was collected, she went back to the front
nursing station of the office to collect her paper work and receive the flu vaccine. Tr. 32.
Petitioner testified that even though the vaccine record indicates she was administered the
vaccine at 4:12 pm, this could not have been the case, because that would have during her EKG
procedure. Tr. 32-4.

        On February 28, 2013, at the appointment with Dr. Shah, petitioner asserted that she
received the flu vaccination in her right arm. Pet. Ex. 3 at 1. Petitioner consistently reported that
she received the flu vaccine on her right arm to all her other treating physicians. See Pet. Exs. 2,
3, 5 and 29.

       Petitioner testified clearly and credibly that she received the vaccination in her right arm.
Additionally, the medical records, particularly the medical records from the date she received the
vaccination, corroborates her testimony with respect to the order of procedures performed the
same day but contains other errors regarding timing of the procedure as described above. The
nursing supervisor told the petitioner that the person making the chart entry is different than the
one administering the shot and indeed it appeared that that was the case in this situation. Thus, it
seems likely that the entry of left arm was made in the chart as the most frequent location but
without Nurse Choi having seen the actual administration of the vaccine in this case. Therefore,
the undersigned finds that petitioner received the November 15, 2012 flu vaccination in her right
arm.

       III.      Ruling on Entitlement

              A. Legal Standard for Entitlement




                                                 17
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 18 of 28




        The Vaccine Act provides two avenues for petitioners to receive compensation. The
petitioner may demonstrate either that she suffered a “Table” injury, or that she suffered a
different injury which was caused-in-fact by a vaccine listed on the Vaccine Injury Table. §§
3000aa-13(a)(1)(A), 11(c)(1); Capizzano v. Sec’y of Health & Human Servs., 440 F.3d 1317,
1319-20 (Fed. Cir. 2006). Because petitioner’s claim predates the inclusion of SIRVA on the
Table, she must prove her claim by showing that her injury was caused-in-fact by the vaccination
in question. §300aa-11(c)(1)(C)(ii). To do so, petitioner must establish, by preponderant
evidence: “(1)” a medical theory causally connecting the vaccination and the injury; (2) a logical
sequence of cause and effect showing that the vaccination was the reason for the injury; and (3) a
showing of proximate temporal relationship between vaccination and injury.” Althen v. Sec’y of
Health & Human Servs., 418 F.3d 1274, 1278 (Fed. Cir. 2005).

        Establishing a sound and reliable medical theory connecting the vaccine to the injury
often requires petitioners to present expert testimony in support of his or her claim. Lampe v.
Sec’y of Health & Human Servs., 219 F.3d 1357, 1361 (Fed. Cir. 2000). Expert testimony in the
Vaccine Program is usually evaluated according to the factors set forth in Daubert v. Merrell
Dow Pharm., Inc., 509 U.S. 579, 594-96 (1993); see also Cedillo, 617 F.3d at 1339 (citing
Terran v. Sec’y of Health & Human Servs., 195 F.3d 1302, 1316 (Fed. Cir. 1999). Thus, for
Vaccine Act claims, a “special master is entitled to require some indicia of reliability to support
the assertion of the expert witness.” Moberly ex rel. v. Sec’y of Health & Human Servs., 592 F.
3d. 1315, 1324 (Fed. Cir. 2010). The Daubert factors are used in weighing the reliability of
scientific evidence proffered. Davis v. Sec’y of Health & Human Servs., 94 Fed. Cl. 53, 66-67
(2010).

        Where both sides offer expert testimony, a special master's decision may be “based on the
credibility of the experts and the relative persuasiveness of their competing theories.”
Broekelschen v. Sec'y of Health & Human Servs., 618 F.3d 1339, 1347 (Fed. Cir. 2010) (citing
Lampe v. Sec’y of Health & Human Servs., 219 F.3d 1357, 1362 (Fed. Cir. 2000)). However,
nothing requires the acceptance of an expert's conclusion “connected to existing data only by the
ipse dixit of the expert,” especially if “there is simply too great an analytical gap between the
data and the opinion proffered.” Snyder Ex Rel. v. Sec’y of Health & Human Servs., 88 Fed. Cl.
at 743 (quoting Gen. Elec. Co. v. Joiner, 522 U.S. 146 (1997)). Weighing the relative
persuasiveness of competing expert testimony, based on a particular expert's credibility, is part of
the overall reliability analysis to which special masters must subject expert testimony in Vaccine
Program cases. Moberly, 592 F.3d at 1325–26 (“[a]ssessments as to the reliability of expert
testimony often turn on credibility determinations”); see also Porter v. Sec'y of Health & Human
Servs., 663 F.3d 1242, 1250 (Fed. Cir. 2011) (“this court has unambiguously explained that
special masters are expected to consider the credibility of expert witnesses in evaluating petitions
for compensation under the Vaccine Act”).

           B. Althen Prong One

       Under Althen prong one, the petitioner must present a theory explaining how the relevant
vaccine can cause the petitioner’s injury. Althen, 418 F.3d at 1278. In this case, the petitioner’s
theory of causation is SIRVA. The Federal Circuit has held that recognition of a link between
vaccine and injury on the Vaccine Injury Table supports petitioner’s burden under Althen prong


                                                 18
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 19 of 28




one. Doe 21 v. Sec’y of Health & Human Servs., 88 Fed. Cl. 178, 193 (2009), rev’d on other
grounds, 527 Fed. Appx. 875 (Fed. Cir. 2013).

       1. Respondent’s Expert’s Opinion to Althen prong one

        In his written report, Dr. Ring wrote that petitioner was correctly diagnosed with
adhesive capsulitis and “the condition evolved as expected.” Resp. Ex. A at 3. He explained
that adhesive capsulitis causes painful stiffness. Id. at 2. Dr. Ring wrote that, “Adhesive
capsulitis is an extremely common, idiopathic, temporary stiffness of the glenohumeral
joint….Adhesive capsulitis resolves over time, and there are no interventions that clearly alter
the natural history.” Id. He stated that, “most people do stretching exercises and use
occupational non-opioid pain relievers until the problem resolves. This is consistent with the
treatment that was sought by [petitioner] in India from February 29, 2013 through July 7, 2013,
and in the US from April through June of 2014.” Id.

       Dr. Ring stated that because the shoulder is a common site of vaccine administration and
prevalence of adhesive capsulitis, “the two are likely to be linked temporally, on occasion.” Id.
He acknowledged that prior to being hired by respondent for this case he had never heard of
SIRVA and did not recall treating any patients complaining of chronic shoulder pain after
vaccination. Tr 281. Dr. Ring opined that the needle used for vaccination is too short to enter the
subacromial space and that a spinal needed is necessary for subacromial injections. Id.

        Dr. Ring stated that, “As is typical for adhesive capsulitis, her condition resolved with
few deficits (last documented shoulder forward elevation of 160 degrees, which is within range
of normal). Any ongoing shoulder pain is more likely than not related to typical age-related
changes in the rotator cuff. Id. at 3. He observed that in 2017, petitioner was in the care of Dr.
Gregory DiFelice, a “nationally renowned shoulder surgeon at the prominent and well-respected
Hospital for Special Surgery in New York,” and he assessed petitioner with rotator cuff
tendinosis. Id. at 4. Dr. Ring stated that, “it is clear from Dr. DiFelice’s notes that the adhesive
capsulitis resolved, and any residual symptoms are due to another: age-appropriate changes in
the rotator cuff tendons.” Id.

        During the hearing, Dr. Ring explained that adhesive capsulitis cannot cause rotator cuff
syndrome. Tr. 258. He also stated that rotator cuff syndrome cannot be a sequala of adhesive
capsulitis. Id. He testified that he agreed with Dr. DiFelice’s assessment from the August 8,
2013 visit that petitioner had adhesive capsulitis. Tr. 264. He stated that the record indicated
there was a restriction of motion and “idiopathic stiffness of the shoulder,” which was consistent
with adhesive capsulitis. Id.

        Dr. Ring stated that typical treatment for adhesive capsulitis is physical therapy that
includes stretching exercises. Tr. 265. He explained that some people may experience slight
stiffness at the end of treatment, but found that there was no evidence in petitioner’s case of
residual stiffness associated with her adhesive capsulitis. Tr. 265-66. He testified that
petitioner’s final motion, “is somewhere between 160 and 180 degrees, all of which are within
normal limits.” Tr. 266. He noted that on May 5, 2018, at petitioner’s second visit with Dr.
DiFelice, petitioner was diagnosed with rotator cuff syndrome of the right shoulder, which is a


                                                 19
         Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 20 of 28




separate and different problem that she presented with in 2013. Tr. 266-67. Dr. Ring testified
that at the visit in 2018 with Dr. DiFelice, petitioner was not exhibiting any stiffness, but instead
describing pain and she had an MRI showing rotator cuff tendinosis, which is “clearly a different
problem” from the pain caused by her adhesive capsulitis that she presented with in 2013. Tr.
267. He opined that the pain she was describing when testifying was the result of her rotator cuff
tendonitis and not from the pain she experienced after receiving the flu vaccination in November
2012. Tr. 267.

        Dr. Ring also testified that there is no evidence that petitioner’s adhesive capsulitis was
caused by the flu vaccine injected into her right shoulder. Tr. 268. He stated that adhesive
capsulitis was extremely common and idiopathic, so “there is no known cause.” Id. When asked
if it was possible for a person to experience an inflammatory response to a vaccination as a
proposed mechanism for causing adhesive capsulitis, Dr. Ring responded, “No, it doesn’t make
any sense to me.” Tr. 268. He conceded that an injection in the deltoid can cause a local
inflammatory response but reiterated that it cannot cause adhesive capsulitis. Tr. 269. Dr. Ring
also opined whether the needle for a vaccination would be long enough to cause a physical injury
and he stated that it is too short to get into the shoulder joint or subacromial space. Id. He stated
that that in order to give an injection into the subacromial space, a spinal needle is used, which is
three or four inches long. Id. He stated that he does not think that the influenza vaccine causes
adhesive capsulitis or rotator cuff tendinopathy. Tr. 270.

        Dr. Ring stated that the article by Atanasoff et al., 11 which describes shoulder injuries
related to vaccine administration, showed that people had “coincident shoulder site immunization
and shoulder soreness.” Tr. 273. He testified that many of the subjects described in the
Atanasoff article had rotator cuff tendinopathy or adhesive capsulitis. Id. Dr. Ring opined that
“a causal association made where only a temporal association was observed.” Id.

        After reading the Vaccine Injury Table’s definition of SIRVA, Dr. Ring conclude that
petitioner did not meet the definition because “adhesive capsulitis” could explain her shoulder
symptomology. Tr. 279. Dr. Ring concluded that he could not link petitioner’s rotator cuff
syndrome to her diagnosed adhesive capsulitis or to the administration of the flu vaccine in
November 2015. Id.

        2. Petitioner’s Expert’s Opinion to Althen Prong One

        Petitioner submitted an expert report from Dr. Marko Bodor post-hearing. Pet. Ex. 37.
In his report, Dr. Bodor explained, “in the weeks and months following her flu vaccination,
[petitioner] developed adhesive capsulitis. I have found adhesive capsulitis (frozen shoulder) to
be clearly documented in 56% (9/16) of SIRVA claimants whose medical histories I have
reviewed in the last few years. This is much higher than the 3-5% lifetime risk of frozen
shoulder in the general population.” Pet. Ex. 37 at 3.



11
  Atanasoff, S., et. al., Shoulder injury related to vaccine administration (SIRVA), 28 Vaccine 8049-8052 (2010).
[Resp. Ex. A2; Pet. Ex. 39].


                                                        20
           Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 21 of 28




        Dr. Bodor explained that the article12 he co-authored, which was the first to describe
“vaccination-related shoulder dysfunction,” hypothesized that a vaccine injected into the
subdeltoid bursa caused a periarticular inflammatory response, subacromial bursitis, bicipital
tendonitis and adhesive capsulitis. Pet. Ex. 38. He explained that he studied the length and type
of needles used in vaccinations and the distance between the skin and subdeltoid bursa using
ultrasound to determine whether the vaccination could penetrate the subdeltoid bursa. Id. He
found that in individuals with a body mass index (“BMI”) between 19 and 31, the distance
between the skin and the subdeltoid bursa range from 8 to 16 mm in the upper third of the deltoid
muscle. Id. He found that in 21 normal health adults, a 25.4 mm (one inch) vaccination needle
inserted to 75% of its length in the upper part of the deltoid could penetrate the bursa in all
subjects; and if inserted to 50% of its length, it would still penetrate the bursa in most subjects.
Pet. Ex. 37 at 1.

        Dr. Bodor stated that Dr. Ring’s belief that a 100 mm spinal needle is necessary to reach
the subacromial bursa, is not surprising, as Dr. Ring did not appear to review the article Dr.
Bodor co-authored discussing ultrasound measurements of the distance between the skin and the
subdeltoid bursa. Pet. Ex. 37 at 1. The ultrasound measurements have allowed more precise
measurements of the shoulder structure, including the skin, fat, deltoid muscle, infraspinatus
tendon and the bone of the humeral head. Id. at 2. Dr. Bodor agreed that the 100 mm spinal
needle is used on rare occasions to reach the subacromial bursa. Pet. Ex. 37 at 2. He explained
that one would have to use the longer needle to reach the subacromial bursa under the acromion
when the needle comes from the side rather than the top of the shoulder because the distance to
the target is longer. Pet. Ex. 37 at 2. He indicated that you can use a much shorter needle and
direct approach to reaching the subdeltoid bursa. Id.

       Dr. Bodor wrote that it was his opinion that, “vaccination needles can reach the
subdeltoid bursa, rotator cuff and bone below the rotator cuff and cause acute injuries and
chronic pain on the basis of deposition of antigens and a persistent inflammatory response.” Id.
at 3.

        He explained that petitioner’s height and weight placed her at a higher risk for
overpenetration of a vaccination needle, if provided in the upper third of the deltoid muscle, “the
location of the subdeltoid bursa and rotator cuff.” Id. at 3. He observed that petitioner is 5’2”
tall and weighed 119 pounds on October 4, 2012. Her BMI was 22, at the lower end of their 19-
31 test range. He therefore estimated that the distance from skin to the subdeltoid burse was in
the range of 6-10 mm or well within the range of a standard vaccination needle. He opined that
the vaccine was likely injected into petitioner’s subdeltoid bursa and adjacent rotator cuff,
causing immediate pain and an inflammatory response. Id.

           3. Petitioner has demonstrated Althen prong one by preponderant evidence.

       As noted above, the respondent has added SIRVA after the receipt of an intramuscularly
administered seasonal flu vaccine to the Vaccine Injury Table. When proposing the addition of
SIRVA to the Vaccine Table, respondent discussed the mechanism by which this injury is
caused. See National Vaccine Injury Compensation Program: Revisions to the Vaccine Injury
12
     Bodor, M., & Montalvo, E., Vaccination-related shoulder dysfunction, 25 Vaccine 585-587 (2007). [Pet. Ex. 38].

                                                          21
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 22 of 28




Table, 80 Fed. Reg. 45132, 45137 (July 29, 2015). The undersigned takes judicial notice of this
fact and such recognition of the causal association between vaccine and injury has been held to
support the establishment of the theory required by the first Althen prong. See Doe 21 v. Sec’y of
Health & Human Servs., 88 Fed. Cl. 178, 193 (2009), rev’d on other grounds, 527 F. App’x 875
(Fed. Cir. 2013).

        Further, petitioner’s expert, Dr. Bodor, provided a sound and reliable medical theory of
causation which is supported by the medical literature. He opined that the direct injection into
the bursa by the vaccination stimulated an inflammatory response which eventually led to
adhesive capsulitis. Pet. Ex. 37 at 3. This theory is supported by the medical literature filed by
petitioner. Specifically, Dr. Bodor referenced the Atanasoff article which explained, “If…a
vaccine is inadvertently injected into the synovial space of the shoulder (bursa or joint), pre-
existing antibody in the synovial tissues, present as a result of earlier naturally occurring
infection or vaccination, may lead to a more prolonged inflammatory response.” Pet. Ex. 39 at 3.
Further, the Atanasoff article stated,

         Although shoulder dysfunction due to mechanical or overuse injury is always a
        diagnostic consideration, the rapid onset of pain with limited range of motion following
        vaccination in our series of patients is consistent with a robust and prolonged immune
        response within already-sensitized shoulder structures following injection of antigenic
        substance into the subacromial bursa or the area around the rotator cuff tendon. We
        believe that this type of phenomenon is not due to a specific vaccine, but results from
        injection of a vaccine antigen to which a person has previously been sensitized as a result
        of previous naturally occurring infection or past vaccination.

Pet. Ex. 39 at 3.

       While Dr. Ring asserted that a much larger needle is needed to reach the subacromial
bursa space, the Atanasoff article also confirmed that over penetration by a standard needle used
for vaccination could reach the bursa, particularly in patients with lower BMIs. Pet. Ex. 39 at 3.
Further, the Atanasoff article indicated that individuals may have pre-existing shoulder
conditions, like impingement syndrome or adhesive capsulitis, but have no symptoms or
dysfunction until provoked by vaccination-associated synovial inflammation. Id.

       While this case was Dr. Ring’s first exposure to SIRVA, Dr. Bodor has done
considerable research on the subject and demonstrated significant knowledge of the specific
anatomy involved in SIRVA injuries and the potential for a standard vaccine needle to reach the
underlying structures when the shot is administered in the top third of the deltoid. I found his
opinion to be more persuasive.

        Additionally, the Vaccine Program has a well-established track record of awards of
compensation for SIRVA being made on a cause-in-fact basis in this program. See, e.g.,
Tenneson v. Sec’y of Health & Human Servs., No. 16-1664V, 2018 WL 3083140 (Fed. Cl. Spec.
Mstr. Mar. 30, 2018) (rev. den., 142 Fed. Cl. 329 (2019)); Loeding v. Sec’y of Health & Human
Servs., No. 15-740V, 2015 WL 7253760 (Fed. Cl. Spec. Mstr. Oct. 15, 2015) (noting that
“respondent ‘has concluded that petitioner’s injury is consistent with SIRVA; that a


                                                 22
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 23 of 28




preponderance of evidence establishes that her SIRVA was caused in fact by the flu vaccination
she received on October 14, 2014; and that no other causes for petitioner’s SIRVA were
identified.”); Johnson v. Sec’y of Health & Human Servs., No. 16-165V, 2016 WL 3092002
(Fed. Cl. Spec. Mstr. Apr. 13, 2016) (awarding compensation for a SIRVA caused-in-fact by the
influenza vaccine).

        Therefore, the undersigned finds petitioner has provided by preponderant evidence that
the flu vaccine administered intramuscularly can cause SIRVA and satisfied the first Althen
prong.

               C. Althen Prong Two

        Under Althen prong two, petitioner must demonstrate a logical sequence of cause and
effect showing that the vaccination was the reason for her injury. The second prong focuses on
specific causation, whether the administered vaccine did cause the injury. Pafford v. Sec’y of
Health & Human Serv., 451 F.3d 1352, 1355-56 (Fed. Cir. 2006). This distinction “has been
described as the ‘can cause’ vs. ‘did cause’ distinction.” Stapleford v. Sec’y of Health & Human
Servs., No. 03-234V, 2009 WL 1456441 at *18 (Fed. Cl. Spec. Mstr. May 1, 2009).

       Although petitioner’s claim does not constitute a Table injury, the QAI criteria for
SIRVA has been found to be persuasive regarding the factors necessary to demonstrate a logical
sequence of cause and effect. Tenneson v. Sec’y of Health & Human Servs., No. 16-1664, 2018
WL 3083140 at *7 (Fed. Cl. Spec. Mstr. Mar. 30, 2018), aff’d, 142 Fed. Cl. 329 (2019); Forman-
Franco v. Sec’y of Health & Human Servs., No. 15-1479, 2019 WL 7602582 at *9.

       The QAI provides that a “vaccine recipient shall be considered to have suffered SIRVA if
such recipient manifests all of the following,”

       (i)        No history of pain, inflammation or dysfunction of the affected shoulder prior to
                  intramuscular vaccine administration that would explain the alleged signs,
                  symptoms, examination findings and/or diagnostic studies occurring after vaccine
                  injection;
       (ii)       Pain occurs within the specified time period;
       (iii)      Pain and reduced range of motion are limited to the shoulder in which the
                  intramuscular vaccine was administered; and
       (iv)       No other condition or abnormality is present that would explain the patient’s
                  symptoms (e.g. NCS/EMG or clinical evidence of radiculopathy, brachial neuritis,
                  mononeuropathies, or any other neuropathy).

42 C.F.R. Part 100.3(c)(Qualifications and Aids to Interpretation for SIRVA).

                  1. Petitioner’s prior condition.

       There is no evidence in the medical records that petitioner had any history of pain,
inflammation or dysfunction in her right shoulder prior to receiving the November 15, 2012 flu



                                                  23
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 24 of 28




vaccine. Further, respondent has not alleged that petitioner had any symptoms of shoulder injury
prior to the receipt of the November 15, 2012 flu vaccine.

               2. Petitioner’s pain occurred within the specified time period.

       A SIRVA Table injury requires a petitioner to demonstrate that the first symptom of
shoulder pain occur within forty-eight hours of vaccination. 42 C.F.R. § 100.3(a)(XIV)(B).

        The respondent argued that the petitioner fails to meet the SIRVA criteria because the
“contemporaneous medical records do not support the onset of pain within forty-eight hours of
vaccination.” Resp. Rept. at 8; Resp. Post-Hearing Brief at 16. Respondent argues that
petitioner first complained of right shoulder pain was fifteen weeks after vaccination. Id.
Additionally, respondent stated that petitioner reported that the onset of pain and shoulder
dysfunction was gradual over a three-month period of time, which is inconsistent with “the
abrupt onset of pain that would lead one to seek medical assessment and treatment within 48
hours.” Resp. Post-Hearing Brief at 16.

        During the hearing, petitioner testified that she experienced “significant pain” in her right
shoulder by the time she reached home after receiving the flu vaccine at her doctor’s office on
November 15, 2012. Tr. 49. She explained that as the night progressed, she felt “a lot of
heaviness and pain,” and she tried applying ice and taking pain medication to soothe the pain.
Id. Petitioner testified that she thought the pain would go away, as some “shots are more painful
than others.” On cross-examination, petitioner was asked why she did not seek medical
treatment sooner than February 2013, she explained that her pain was significant, but thought it
was going to go away with the treatment of Tylenol, hot packs and ointment. Tr. 168-9. She
stated that she thought her pain and limited range of motion in her right shoulder was going to be
temporary and “resolve on its own.” Id.

        At petitioner’s first appointment with Dr. Shah on February 28, 2013, he wrote that
petitioner had complaints of pain in her right shoulder for three months. Pet. Ex. 3 at 1. He
recorded petitioner’s history as, “Flu shot-followed by flu 23rd November. Gradual onset-
→worsening.” Id. On July 17, 2013, petitioner had an appointment with Dr. Ari Geliebter,
where petitioner attributed pain and limited range of motion to the flu shot she received in
November 2012. Pet. Ex. 2 at 35. At an appointment with Dr. Steven Lager, petitioner reported
that she had the flu vaccine in November 2012 and “developed acute shoulder pain and
capsulitis.” Pet. Ex. 5 at 6. On August 8, 2013, petitioner again associated the pain and stiffness
in her right shoulder since receiving the flu vaccine in November 2012. Pet. Ex. 2 at 38.

       Petitioner testified credibly that her pain began immediately after receiving the flu
vaccine on November 15, 2012. Additionally, petitioner reported that her pain began
immediately in her right shoulder after receiving the flu vaccination to multiple medical care
providers consistently. Therefore, I conclude that petitioner’s pain in her right shoulder began
immediately after she received the flu vaccination on November 15, 2012.




                                                 24
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 25 of 28




               3. Petitioner’s pain and reduced range of motion is limited to the shoulder
                  which she received the intramuscular flu vaccine.

      As discussed above, I found that the November 15, 2012 flu was administered to her right
arm. Based on the petitioner’s testimony and the medical records, petitioner’ vaccine-related
symptoms were limited to her right shoulder.

         Physical exams by petitioner’s treating physicians consistently demonstrated that
petitioner had reduced range of motion in her right shoulder compared to her left. For example,
at petitioner’s first physical therapy appointment in India on February 28, 2013, petitioner
demonstrated reduced range of motion in her right shoulder on active range of motion, including
flexion, abduction, internal rotation and external rotation, but her left shoulder active range of
motion and strength was “within normal limits.” Pet. Ex. 12 at 2. On July 26, 2013, at
petitioner’s appointment with Dr. Lager, petitioner again demonstrated reduced range of motion
in her right arm on abduction, external rotation, flexion and internal rotation compared to her left
side, which were within normal limits. Pet. Ex. 5 at 1. Petitioner was diagnosed with “severe
right shoulder capsulitis,” at this appointment. Id. On April 10, 2014, petitioner had an
appointment with Dr. Wanich. Pet. Ex. 8 at 2. At this appointment, Dr. Wanich observed
petitioner had reduced range of motion in her right upper extremity and diagnosed her with
“right shoulder adhesive capsulitis.” Pet. Ex. 6 at 4. The record demonstrates that petitioner’s
pain and reduced range of motion were limited to her right shoulder and there is no indication
that petitioner experienced pain or limited range of motion in any area other than her right arm.

               4. No other condition or abnormalities are present to explain petitioner’s
                  symptoms.

         Petitioner’s treating physicians diagnosed her with adhesive capsulitis, a diagnosis
associated with SIRVA. Dr. Bodor stated, “I have found adhesive capsulitis (frozen shoulder) to
be clearly documented in 56% of SIRVA claimants whose medical histories I have reviewed in
the last few years. This is much higher than the 3-5% lifetime risk of frozen shoulder in the
general population.” Pet. Ex. 37 at 3. Dr. Bodor opined, “The vaccine was likely injected into
[petitioner’s] subdeltoid bursa and rotator cuff, which caused her immediate pain after the
injection and worsened over time as the vaccine stimulated an inflammatory response and
eventually adhesive capsulitis set in. Pet. Ex. 37 at 3.

        He stated that, “In the weeks and months following her flu vaccination, [petitioner]
developed adhesive capsulitis.” Id. He observed that adhesive capsulitis can be secondary to
trauma, rotator cuff tears, tendonitis, burns and neurologic disorders. Id. He opined that, “If
frozen shoulder can be secondary to all of these conditions, then it would not be a leap to
consider that it could also be secondary to SIRVA, which has components of acute and chronic
injury and inflammation.” Id.

        Dr. Ring agreed that petitioner was correctly diagnosed with adhesive capsulitis. Resp.
Ex. A at 3. However, he stated that, “Any pain that [petitioner] currently experiences in her
shoulder would be caused by age-related rotator cuff tendinopathy.” Id. Dr. Ring stated that,
“[Petitioner’s] adhesive capsulitis improved gradually over about 2 years, as expected, resulting


                                                 25
        Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 26 of 28




in full or near full shoulder motion as evidenced by the physical therapy visit on June 9, 2014.”
Resp. Ex. A at 2.

        Dr. Ring observed that Dr. DiFelice, an orthopaedic surgeon, reviewed petitioner’s 2016
MRI and stated, “MRI of the right shoulder performed at Infocus Diagnostics on 9/26/2016 was
reviewed and demonstrates rotator cuff tendinosis.” Resp. Ex. A at 4; Pet. Ex. 27 & 29 at 2. Dr.
Ring interpreted Dr. DiFelice’s notes from the appointment with petitioner on May 4, 2018 as,
“In other words, it’s clear from Dr. DiFelice’s notes that the adhesive capsulitis is resolved and
any residual symptoms are due to another problem: age-appropriate changes in the rotator cuff
tendons. I agree with Dr. DiFelice’s assessment.” Resp. Ex. A at 4. However, the note from
petitioner’s appointment with Dr. DiFelice states, “[Petitioner] is a 53 y.o. female with right
shoulder chronic rotator cuff syndrome, possible related to flu shot.” Pet. Ex. 29 at 2 (emphasis
added). Dr. DiFelice does not relate petitioner’s rotator cuff syndrome to “age-related” changes,
but instead raises the possibility that her rotator cuff syndrome is instead, related to the flu shot.

        Further, Dr. Ring explained that, “Rotator cuff tendinopathy (impingement syndrome) is
the change that occurs in the tendons that surround or “cuff” the head of the humerus….Those
tendons change and thin with age…and can develop defects. This is usually present in some
degree after the age of 40. Most of these changes are asymptomatic.” Resp. Ex. A at 2. Dr.
Ring’s assessment is consistent with the Atanasoff article, which states, “…chronic shoulder pain
with or without reduced shoulder joint function can be caused by a number of common
conditions including, impingement syndrome, rotator cuff tear, biceps tendonitis, osteoarthritis
and adhesive capsulitis. In many cases, these conditions may cause no symptoms until provoked
by trauma or other events.” Pet. Ex. 39 at 3 (emphasis added). The authors of the article state,
“Therefore, some of the MRI findings in our case series, such as rotator cuff tears, may have
been present prior to vaccination and became symptomatic as a result of vaccination synovial
inflammation.” Id.

        Petitioner’s right shoulder MRI did not occur until 2016 in the course of her injury,
therefore it is difficult to know for sure when the partial tear of the rotator cuff occurred.
However, given Dr. Bodor’s opinion that the vaccine was likely injected into the subdeltoid
bursa and the rotator cuff, it seems likely that this initial trauma to the rotator cuff and the bursa
gave rise to the adhesive capsulitis from which she suffers. While there is no evidence that
petitioner had rotator cuff tendinopathy prior to receiving the November 15, 2012 flu
vaccination, even if she had age-related changes as asserted by Dr. Ring, the record is clear that
petitioner did not experience any symptoms (pain or dysfunction) until after she received the flu
vaccine on November 15, 2012.

       Petitioner’s course of pain and shoulder dysfunction is consistent with the findings
described in the Atanasoff article. Therefore, the record demonstrates that no other conditions or
abnormalities were present to explain petitioner’s symptoms of right shoulder pain or
dysfunction.

               5. Petitioner has established a logical sequence of cause and effect showing
                  the flu vaccine was the cause of her right shoulder injury.



                                                  26
       Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 27 of 28




        In conclusion, petitioner’s injury meets the criteria for a SIRVA injury and the clinical
course of petitioner’s injury mirrors a typical SIRVA injury. Therefore, the undersigned finds
petitioner has demonstrated by preponderant evidence a logical sequence of cause and effect,
satisfying Althen prong two.

             D. Althen prong three: Petitioner has demonstrated a medically appropriate
                proximate temporal relationship between vaccination and injury.

        Under Althen Prong Three, petitioner must establish a “medically acceptable temporal
relationship” between the vaccination and the injury alleged. Althen, 418 F.3d at 1281.

        A SIRVA Table injury requires a petitioner to demonstrate that the first symptom of pain
begins within forty-eight hours of vaccination. 42 C.F.R. § 100.3(a)(XIV)(B). Respondent
argued, “The contemporaneous medical records also do not support the onset of pain within the
specified time frame (within forty-eight hours of vaccination). Resp. Post-Hearing Brief at 16.
Respondent stated that the first-time petitioner complained of right shoulder pain was fifteen
weeks after vaccination and that the record indicates that petitioner “onset was gradual.” Id.
Respondent asserts that petitioner’s failure to seek medical attention for her shoulder pain for
approximately three months and the description that “onset was gradual” is “not consistent with
the abrupt onset of pain that would lead one to seek medical assessment and treatment within 48
hours.” Id.

       As discussed above, petitioner testified credibly that she experienced pain in her right
shoulder almost immediately after receiving the flu vaccine on November 15, 2012.
Additionally, petitioner explained that she thought that the pain was going to subside and used
home remedies to alleviate her pain. Tr. 168-9. Further, once petitioner sought treatment from
medical providers, she consistently reported that her shoulder pain began immediately after she
received the flu vaccination on November 15, 2012.

       Considering the findings above, I conclude that petitioner’s shoulder pain began within
48 hours of her November 15, 2012 flu vaccination. Therefore, petitioner has satisfied Althen
prong three.

       IV.      CONCLUSION

        Thus, for all the foregoing reasons, I find that petitioner established by a preponderance
of the evidence that her November 15, 2012 flu vaccination was the cause-in-fact of her right
shoulder injury. She is entitled to compensation. A separate damages order will be issued.

       IT IS SO ORDERED.

                                                             s/ Thomas L. Gowen
                                                             Thomas L. Gowen
                                                             Special Master




                                                 27
Case 1:14-vv-00811-UNJ Document 152 Filed 08/21/20 Page 28 of 28




                               28
